Case 9:21-cv-81012-AMC Document 49 Entered on FLSD Docket 02/14/2022 Page 1 of 4




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    PALM BEACH DIVISION

                                    CASE NO. 9:21-cv-81012-AMC


  KESHA C. PERKINS,

                  Plaintiff,

  vs.

  WESTERN WORLD INSURANCE
  COMPANY,

                  Defendant.
                                                     /


                                      JOINT STATUS REPORT
          Defendant, Western World Insurance Company ("Western" or “Defendant”), and the

  Plaintiffs, Kesha Perkins (“Plaintiff”) by and through their undersigned counsel (collectively

  referred to as the “Parties”), hereby files this Joint Status Report as ordered in the Court’s Paperless

  Order Administratively Closing Case [D.E. 39], and in support thereof, states as follows:


          1.      On October 14, 2021, the Parties filed their Notice of Filing Stipulation and

   Agreement. [D.E. 35].

          2.      Pursuant to the agreement entered into between the Parties, the Parties stipulated to

   submit this matter to binding appraisal and that all issues will be completely resolved by the

   appraisal panel’s award and the stipulations and agreements, as reflected in the Stipulation and

   described more fully therein. [D.E.35].

          3.      A Joint Motion to Abate the Proceedings Per Stipulation and Agreement was filed

   and ultimately granted by this Court. [D.E. 36 and D.E. 39].
Case 9:21-cv-81012-AMC Document 49 Entered on FLSD Docket 02/14/2022 Page 2 of 4




         4.      The Court further ordered that the Parties shall submit a joint status report to the

   Court, describing the progress made in the appraisal every sixty (60) days thereafter. See D.E. 39.

         5.      The Parties’ appraisers were unable to agreed on a proposed Umpire, so a Joint

   Motion to Appoint Umpire was filed in light of the Parties inability to agree upon an umpire in

   accordance with the Policy. See D.E. 41.

         6.      This Honorable Court referred the Joint Motion to Appoint Neutral Umpire to

   United States Magistrate Judge Bruce E. Reinhart for full disposition, and a telephonic hearing

   took place on or about January 25, 2022. See D.E. 43 & 44.

         7.      Magistrate Reinhart requested that the Parties submit any materials for the Court to

   consider regarding the proposed umpires prior to 5:00 P.M. on February 1, 2022. See D.E. 45.

         8.      Both Parties submitted their respective materials in support of their proposed

   umpires, and Magistrate Reinhart granted the Parties' Joint Motion to Appoint a Neutral Umpire,

   appointing Jon W. Doan to serve as the umpire in the appraisal process. See D.E. 46 – 48.

         9.      The Parties’ appraisers are in the process of coordinating an inspection of the

   insured property in furtherance of the appraisal.




                                                                                         co2 | P a g e
Case 9:21-cv-81012-AMC Document 49 Entered on FLSD Docket 02/14/2022 Page 3 of 4




  Dated: February 14, 2022

  Respectfully submitted by:




    By: _/s/ J. Bruno De La Fuente                    By: Steven C. Teebagy
    J. Bruno De La Fuente, Esquire                    Steven C. Teebagy, Esquire
    Florida Bar No. 8167                              Florida Bar No.: 64823
    Grossman, LeMontang & de la Fuente, PLLC          Bethany C. Ruiz, Esquire
                                                      Florida Bar No.: 107059
    75 Valencia Avenue, Suite 800
                                                      The Teebagy & Medeiros Law Group, PLLC
    Coral Gables, Florida 33134                       P.O. Box 221647
    Telephone No. (305) 446-0303                      West Palm Beach, FL 33422
    Facsimile No. (305) 446-4503                      (561) 229-0280 Telephone
    Email: RSL@gldlawyers.com                         (561) 229-0281
    JBF@gldlawyers.com                                Service Email: eservice@thetmlaw.com
    Counsel for Plaintiff                             Counsel for Defendant
                                CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that on the 14th day of February 2021, we electronically filed
  the foregoing document with the Clerk of the Court using CM/ECF. We also certify that the
  foregoing document is being served this day on all counsel of record or pro se parties identified on
  the attached Service List in the manner specified, either via transmission of Notices of Electronic
  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who
  are not authorized to receive electronically Notices of Electronic Filing.
                                     The Teebagy & Medeiros Law Group, PLLC
                                     P.O. Box 221647
                                     West Palm Beach, FL 33422
                                     (561) 229-0280 Telephone
                                     (561) 229-0281 Facsimile
                                     Service Email: eservice@thetmlaw.com
                                     Counsel for Defendant

                                By: ___/s/ _Steven C. Teebagy______________
                                   Steven C. Teebagy, Esquire
                                   Non-Service Email: steebagy@thetmlaw.com
                                   Florida Bar No.: 64823
                                   Bethany C. Ruiz, Esquire
                                   Non-Service Email: bruiz@thetmlaw.com
                                   Florida Bar No.: 107059



                                                                                         co3 | P a g e
Case 9:21-cv-81012-AMC Document 49 Entered on FLSD Docket 02/14/2022 Page 4 of 4




                                      SERVICE LIST

                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   PALM BEACH DIVISION

              KESHA C. PERKINS V. WESTERN WORLD INSURANCE GROUP

                                CASE NO.: 9:21-cv-81012-AMC


  Ryan LeMontang, Esquire
  Florida Bar No. 119922
  J. Bruno De La Fuente, Esquire
  Florida Bar No. 8167
  Grossman, LeMontang & de la Fuente, PLLC
  75 Valencia Avenue, Suite 800
  Coral Gables, Florida 33134
  Telephone No. (305) 446-0303
  Facsimile No. (305) 446-4503
  Email: RSL@gldlawyers.com
  JBF@gldlawyers.com

  Counsel for Plaintiff




                                                                    co4 | P a g e
